          Case 2:23-cv-00410-SPL Document 4 Filed 03/08/23 Page 1 of 8




 1                           LAW OFFICES
               BRopNtNc OneRc Woops & $TILSoN
 2                    PROFESSIONAL CORPORATION
                2800 North CentralAvenue, Suite 1600
 3                     PHoENtx, AntzottR 85004
                            (602) 271-7700
 4                    DoNALD wrLsoN tn. (005205)
                        BRTAN HoLoHnu (009124)
 5                       nwl@gowwt-Rw.coli
                          eH@eowwlnw.corvt
 6   Attorneys for Defendant Wilton Person

 1                         IN THE UNITED STATES DISTRICT COURT
 B                                       DISTRICT OF ARIZONA
 9   Nexa Mortgage,LLC, an Arizona limited                      CASE NO. 2:23-cv-004 I 0-SPL

10
     liability company,                                     DBFENDANT WILTON PERSON'S
                                                                MOTION TO DISMISS
11                         Plaintiff,
     v
T2

13   Smart Mortgage Centers, Inc., an Illin
     for-profit corporation; and Wilton A
74   Person,
                           Defendants.
15

I6         Pursuant   to FRCP Rule l2(b)(2), Defendant Wilton A. Person moves to               dismiss

I1   Plaintiffls Complaint as to him on the basis the court lacks personal jurisdiction over him.
1B   This motion is supported by the following Memorandum of Points and Authorities and
19   declaration of Wilton A. Person.

20         Dated 8tr'day of March, 2023.

2I                                                 BROENING, OBERG, WOODS & WISON, P.C.
22                                                 B           ald Wils   Jr
                                                             d Wilson, Jr
ZJ
                                                       Brian Holohan
                                                       Attorneys fbr Defendant Person
24

25

26
                Case 2:23-cv-00410-SPL Document 4 Filed 03/08/23 Page 2 of 8




     1                        MEMORANDUM OF POINTS AND AUTHORITIES
     2           This case arises from a series of lawsuits that Defendant Wilton Person, an Illinois

     3   lawyer, commenced on behalf of his Illinois citizen client (Defendant Srnart Mortgage) in

     4   Illinois against Plaintiff and (in one case) against one of Plaintiff s Illinois employees. Where

     5   is there any connection between that series of events and Arizona? Plaintiff alleges
     6   (seemingly with a straight face) that     it is an Arizona   citizen and that Mr. Person and his

     1   client knew that commencing Illinois lawsuits against Plaintiff would cause injury to
     B   Plaintiff in Arizona. Stated another way, there mere fact Defendants sued Plaintiff,           an

     9   Arizona citizen, somewhere other than Arizona is sufficient to satisfy the due process

10       requirements of personal jurisdiction.

11               Plainly,    it is not. There is no personal jurisdiction over Mr. Person -         whose

L2       declaration establishes beyond any question that he is an Illinois citizen who has no contact

13       whatever with Arizona     - in Arizona. The case against him should be dismissed.
I4                                              LEGAL ANALYSIS
15              A district court sitting in diversity   has personal jurisdiction over a defendant to the

I6       extentprovided by the law of the forum state. Warfieldv. Gardner,346 F. Supp. 2d 1033,

I7       1038   (D. Ariz.2004). Arizona's long arm rule, Ariz.R.Civ.Pro. Rule 4.2(a), now explicitly
1B       extends Arizona courts' ability to exercise jurisdiction over out-of-state defendants to the full

19       extent permitted by the United States Constitution.

20               General jurisdiction

2L              It is well   established that in order for a court to exercise personal jurisdiction over   a


22       nonresident defendant, that defendant must have at least "minirnum contacts" with the

2?       relevant forum such that the exercise of jurisdiction "does not offend traditional notions of

24       fair play and substantial justice." Int'l Shoe Co. v. Washington,326 U.S. 310, 316 (1945).
atr
LJ       Two types of personal jurisdiction have been recognized. The first is general jurisdiction. For

26       general jurisdiction    to exist, the defendant must engage in "continuous and systematic

                                                          2
              Case 2:23-cv-00410-SPL Document 4 Filed 03/08/23 Page 3 of 8




  1     general business contacts," Helicopteros Nacionales de Colombia, S.A. v. Hall, 466 U.S.

  2     408, 416 (1984), that "approximate physical presence" in the forurn state. Bancroft &
  3     Masters, Inc. v. Augusta Nat'L, lnc.,223 F.3d 1082, 1086 (9th Cir.2000).   "A   state court may

  4     exercise general jurisdiction only when a defendant is 'essentially at home' in the State . .   .




  Jtr   Only a select 'set of affiliations with a forum' will expose a defendant to such sweeping
  6     jurisdiction." Ford Motor Co. v. Montana Eighth Judicial District Court,592 U.S.                ,

  1     141 S.Ct. 1017,1024 (202r).
                                                                                               -, -
  B            There is, unquestionably, no general jurisdiction over Mr. Person in Arizona. The
  9     Complaint makes no effort      to allege otherwise, or to allege facts from which general
10      jurisdiction could be found.

11             Specific jurisdiction

I2             The other form of personal jurisdiction is specific jurisdiction. This is the so-called

13      minimum contacts standard. Bancroft      &   Masters, Inc., 223 F.3d at 801-2. The Arizona

74      Supreme Court's most recent specific personal jurisdiction pronouncement           is Planning
1tr.
IJ      Group of Scottsdale, L.L.C. v. Lake Mathews Mineral Properties, Ltd., 226 Ariz. 262,246
I6      P.3d343 (2011).t Planning Group holds that a court in this state has specific jurisdiction
71      over an individual "when the aggregate of the defendant's contacts with this                state

1B      demonstrate   (l)   purposeful conduct by the defendant targeting the forum, rather than
19      accidental or casual contacts or those brought about by the   plaintiffs unilateral   acts, (2) a

20      nexus between those contacts and the claim asserted and (3) that exercise of jurisdiction

2I      would be reasonable."

22             The Ninth Circuit has a similar standard:

23
                tln Beverage v. Pullman & Comley, LLC,234 Ariz. l, (2014), the Arizona Supreme
24      Court affirmed thE Court of Appeals' deiision in a case involving specific jurisdiction. The
        Supreme Court held that the Court of Appeals "properly extrapolated" the Planning Group
25      holding and offered only a minor clarifrcation ol the import oT certain facts to the specific
        iurisdiction analysis in that case. 234 Ariz. at 3 ll2-3. Nevertheless, the Beverage Court did
26      hot changethe Planning Group specific jurisdiction analysis.

                                                       3
            Case 2:23-cv-00410-SPL Document 4 Filed 03/08/23 Page 4 of 8




 1           "(1) The non-resident defendant must purposefully direct his activities or
             consummate some transaction with the forurn or resident thereof; or perform
 2           some act by which he purposefully avails himself of the privilege of
             conducting activities in the- forurn, thereby invoking the benefits and
 3           protections of its laws;

 4
             (2) the claim must be one which arises out of or relates to the defendant's
              forum-related activities; and
 5            (3) the exercise of jurisdiction must comport with fair play and substantial
             justice, i.e. it must be reasonable."
 6

 1    Schwarzenegger v. Fred Martin Motor Co., 374        F   .3d 797 ,802 (9th Cir. 2004) (quoting Lake
 B    v. Lake, 817 F.2d 1416,    I42l (9th Cir. 1987)). Analyzed under         either standard, all three
 9    elements are missing.
10
                  1.. Mr. Person engaged in no conduct targeting Arizona
11           In   determining what constitutes purposeful conduct targeting a forum, the United
L2    States Supreme Court has held that    "it is essential in    each case that there be some act by
13    which the defendant purposefully avails itself of the privilege of conducting activities within
I4    the forum State, thus invoking the benefits and protections of its laws." Burger King Corp. v.
15    Rudzewicz,47l U.S. 462, 475 (1985) (internal citation omitted). The purposeful availment
I6    requirement o'ensures that a defendant   will not be hauled into a jurisdiction solely   as a result

T7    of 'random,''fortuitous' or'attenuated' contacts." Id.
1B           Purposeful avaihnent, one of the two standards under the first prong of the Ninth
19    Circuit formulation, requires viewing the defendant's contact with the forum state to
20    determine whether the defendant "'purposefully avail[ed] itself of the privilege of conducting
2L    activities within the forum State, thus invoking the benefits and protections of its laws."     1d.

22    at 802 (quoting Hanson v. Denckla,357 U.S. 235,253 (1958)). Purposeful direction, by
'>a   contrast, focuses on the defendant's actions outside the forurn state that are directed at the
24    forum. Id. at 803. The former is a contract-based analysis; the latter is used in suits sounding
ZJ    in tort. Id. at 802.
26

                                                      4
                Case 2:23-cv-00410-SPL Document 4 Filed 03/08/23 Page 5 of 8




     1          The focus for personal jurisdiction purposes is the Defendant's conduct. Sinatra       v.

     2   Nat'l Enquirer, Inc., 854 F .2d 1191, I 195 (9th Cir. 1988). In order for purposeful avaihnent
     3   to exist, the defendant need have 'performed some type of affirmative conduct which allows
     4   or promotes the transaction of business within the forum state.' Sher v. Johnson, 911 F.2d
     5   1357,1362 (gth Cir. 1990) (quoting Sinatra,854F.2d at          ll95)). To   meet the purposeful

     6   direction test, there must be "express aiming," which       is satisfied when the defendant's
     7   allegedly wrongful conduct was "expressly aimed at the forum state in which the harm
     8   occurred. Dole Food Co.    v. Watts, 303 F.3d 1104, I I l1 (9th Cir. 2002) (citing Calder v.
     9   Jones,465 U.S. 783, 788-89 (1984).

10              Both Planning Group and Beverage demonstrate what is required for "targeting"
11       under the Arizona standard and how such targeting is absent here. In Planning Group, the
T2       Planning Group of Scottsdale ("TPG") was made aware of an investment opportunity in
13       California, provided by Lake Mathews Mineral Properties ("Lake Mathews").226 Ariz. at
I4       264,n2. Lake Mathews, a California based partnership, solicited an investment from TPG by

15       mailing a due diligence report from its office in California for delivery to representatives of
1"6      TPG    in      Id., fl3. After TPG received the report, its representatives engaged in
                     Arizona.

77       extensive communications via telephone, email, and fax with representatives of Lake
1B       Mathews. Id., n4. Eventually, TPG representatives traveled        to California to   rneet with

I9       representatives   of Lake Mathews. Id., n5. After this meeting, Lake Mathews faxed a
)n       prelirninary agreement to TPG in Arizona which provided for immediate funding on the
2L       mining project from TPG in exchange for a promise to repay the loan at a 9%o interest rate.
)a
LL       Id. at 265, 116. TPG   signed the agreement and sent initial payments        to Lake Mathews
23       according to the prelirninary agreement's terms. Id.,n 7. After failing to reach a more definite

24       agreement, TPG filed a cornplaint in Arizona alleging tort and breach of contracl clarms. Id.,

25       fle.
zo

                                                        5
            Case 2:23-cv-00410-SPL Document 4 Filed 03/08/23 Page 6 of 8




  1          The Supreme Court reversed the trial court's dismissal,2 finding that the "issue, after

 2    all, is whether the aggregate of the defendants' contacts with this state make it fair     and

  3   reasonable   to haul them into court here with respect to the clairns arising out of      those

  4   contacts." Id. at268,fl25. The Court held that "the enterprise that would allow the defendants

  5   to repay the loan was outside the forum state, but the contract itself ha[d a] sufficient
  6   relationship to the forum state to support specific jurisdiction."   Id. at 270, fl33 (emphasis
  7   added). Unlike   in Planning Group, where the out-of-state party was directing actions       at

  B   Arizona, Mr. Person did not enter into any agreement or direct any action towards this State

  9   which would support a finding ofjurisdiction.

10           In Beverage the Court of Appeals found personal jurisdiction over a Connecticut
11    law firm which "accepted a telephone call frorn Beverage's Arizona agent, sent
L2    prornotional materials about the law        firm to    Beverage's agent     in   Arizona, then
13    affinnatively agreed to represent Beverage, knowing he lived in Arizona. In connection
I4    with that representation, the [firm] accepted Beverage's request that they analyze the bona
1tr
IJ       s of [a] tax shelter, then drafted and issued an opinion letter to Beverage in Arizona,
16    knowing that Beverage would rely on the letter in filing his federal income tax return from
71    Arizona." 232 Ariz. at 4I7,lll.

1B           In the two Arizona cases, there was some act by the defendant committed in, or
19    directed at, Arizona. Under the federal standard, the defendant's conduct rnust be aimed at

20    Arizona causing harm there. This element is lacking here. Here Mr. Person did nothing to

27    target Arizona. Yes, Mr. Person sued an Arizona resident in lllinois,3 but that is not enough.
22
11            zld. at2711142.
              3The Complaint alleges that Plaintiff "has been granted 60 financial licenses" but
24    stops short of expiicitly alleling it holds an Illinois Mortgige Banking license. Nevertheless,
      thq court may take judicial notice of the fact Plaintiff holds a Morlgage Banker's license in
25    Illinois. https://idfbr.illinois.sor,/Banks/MBLookup/MIll-ist.htnr. That Plaintiff did business
      in Illinois pursuant to its Illinois license only reinforced the conclusion Illinois was the
26    proper forum.

                                                      6
            Case 2:23-cv-00410-SPL Document 4 Filed 03/08/23 Page 7 of 8




 1    The various lawsuits at issue all alleged wrongful conduct occurring in Illinois.4 That Mr.

 2    Person supposedly had to have known that the Illinois lawsuits would negatively impact an

 3    Arizona resident in Arizona is not the standard. ZNS Enterprises, LLC v. Continental Motors,

 4    Inc.,22 F.4th 852 (9th Cir. 2022) (Defendant's alleged knowledge of product malfunctions in
 5    other states insufficient to show that defendant purposefully availed itself of the privilege of

 6    doing business in Arizona.)

 7           If   the rule was otherwise, any time a nonresident lawyer commences a lawsuit in
 o    another state against an Arizona resident, that nonresident lawyer would be subject to suit in

 9    Arizona on that basis alone. By the same reasoning, every nonresident litigant could be

10    hauled into Arizona court when the only contact with Arizona was suing an Arizona resident

11    in another state. How could that be constitutionally permissible?
LZ                2. There is no causal     nexus
13           The next requirement     -    a nexus between Mr. Person's contact    with Arizona and the
74    claims being made by Plaintiff- is not only absent, but also underscores that specific
15    jurisdiction over Mr. Person in Arizona for acts he performed in Illinois is not
I6    constitutionally proper.

I1           [T]he forum State may exercise jurisdiction in only certain cases. The
             plaintiffs claims, we have often stated, "must arise out of or relate to the
1B           ilefendant's contacts" with the forurn . . . Or put just a bit differently, "there
             must be 'an affiliation between the forum and the underlying controversy,
I9           principally, [an] activity or an occurrence that takes place in the forum State
             and is therefore subject to the State's regulation."'
20

21"   Ford Motor Co., 592 U.S. at     _,      141 S.Ct. ar 1025 (internal citations omitted). There is no
))    allegation in the Complaint that Mr. Person committed any act       in Arizona. The "activity or ...
ZJ    occurrence that takes place     in the forum State" required by Supreme Court precedent           is

24    completely   -   and conspicuously   - absent.
25            4oddly, one of the lawsuits, the so-called defarnation action alleged at
                                                                                       flfl38 to 43, was
      against a Nexa ernployee not Plaintiff Nexa itself. The claim that Mr. Person knew that
26    Plaintiff would somehow be harrned as a result makes no sense.

                                                         1
          Case 2:23-cv-00410-SPL Document 4 Filed 03/08/23 Page 8 of 8




 1          3. It would be unreasonable to exert personal jurisdiction
 2          The analysis of the reasonableness of exercising personal jurisdiction is only
 3   undertaken   if rninimum   contacts are first found. Planning Group, 223 Ariz. at 270, n 37.

 4   Because Mr. Person lacks minirnum contacts with Arizona, the Court need not reach this
 q
     issue. But Mr. Person's complete lack of contacts with Arizona, coupled with the fact that

 6   every allegedly wrongful act committed by Mr. Person occurred in Illinois and the fact that
 7   the Nexa employees who were allegedly wrongly targeted reside in Illinois, only
 B   underscore the lack of any arguable basis for personal jurisdiction over Mr. Person.

 9                                          CONCLUSION
10          There is no personal jurisdiction over Mr. Person            in Arizona. The Court should
11   therefore dismiss the case against him.

L2         Dated 8th day of March, 2023.

13                                             BROENING, OBERG, WOODS & WLSON, P.C.
L4                                             B               Wi
                                                              son, Jr.
t5                                                 Brian Holohan
                                                   Attorneys for Defendant Person
L6

t1                 CERTIFICATE OF ELECTRONIC FILING AND SERVICE
1B          I hereby certify that on March 8, 2023, I electronically transmitted the attached
     document to the Clerk's Office using the CM/ECF System for filing and transmittal of a
L9   Notice of Electronic Filing, and via Email, to the CMIECF registrants:
20   Jeffrey C. Matura, State Bar No. 019893
     John J. Daller, State Bar No. 034016
2L   BARRETT & MATURA, P.C.
     8925 East Pirna Center Parkway, Suite 215
22   Scottsdale , Arizona 85258
23
     By /s/ Karleen Johnston
24

25

26

                                                      B
